                                                                       ORDERED ACCORDINGLY.


                                                                       Dated: July 23, 2024




 1

                                                                       _________________________________
 2
                                                                       Brenda K. Martin, Bankruptcy Judge

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 6                            UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF ARIZONA
 7
                                                   )     Chapter: 13
 8   In re:                                        )
                                                   )     Case No. 2: 24-bk-00054-BKM
 9   JOSHUA D VOS,                                 )
                                                   )     ORDER EXTENDING DEADLINE TO
10                                                 )
     LAURA M VOS,                                        RESPOND TO TRUSTEE’S
                                                   )
11                                                 )     RECOMMENDATION
                                                   )
12                                    Debtors.

13
              Having reviewed and considered the Motion for Extension of Time to Respond to
14   Trustee’s Recommendation, and good cause appearing,
15            IT IS HEREBY ORDERED extending the deadline by which the Debtors must respond
     to the Trustee’s Recommendation to July 30, 2024.
16
                                   Dated & Signed Above
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     Case 2:24-bk-00054-BKM         Doc 21 Filed 07/23/24 Entered 07/23/24 07:27:23            Desc
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